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                      VOICEMAIL - JANUARY 12, 2021

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                                                                                                    2


 1   ERIK HARRIS:                               Hey Bob, it's Erik calling you

 2                                              back. Um, I know I said I'll be

 3                                              available after 4 ah, but our

 4                                              meeting -- our 4:00 meeting -- I'm

 5                                              sorry, our 3:00 meeting got pushed

 6                                              to 4:00.         So, I wanted to give you

 7                                              a call before we got on that.                Um,

 8                                              please give me a call after.                 Just

 9                                              wanted to give you a heads up too

10                                              that the Board gave you until the

11                                              20th to make payment arrangements

12                                              or to make payment.                So, I'm

13                                              sending out a letter to you ah, I

14                                              was hoping today, but Rosemary's

15                                              out um, today.                 So, it'll go out

16                                              by Friday at the latest.                 And I'll

17                                              also email you, same exact letter,

18                                              same exact breakdown um, it's just

19                                              updating the due date.                All right,

20                                              thanks; bye-bye.

21

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                                                                App. 37
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                                  JTCBUSINESSSUITE, LLC

                             TRANSCRIBER’S CERTIFICATION

  _______________________________________________________________
       I, MONICA Y. COLLINS, Transcriptionist for the office of JTCBUSINESSSUITE, LLC, in the

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       That this transcript is a true and correct record(s) and has been transcribed to the

best of my ability, of the VOICEMAIL (via audio) held on JANUARY 12TH OF 2021 for

and at the request of KD PHILLIPS LAW FIRM, PLLC.

       I, further certify that I am neither counsel for, related to, nor employed by any of the

parties to the action in which this was taken, and further that I am not financially nor

otherwise interested in the outcome of this matter.

       That $82.57 (including taxes and fees) is the total charge for the

preparation of (1 of 2) completed transcripts.



       Transcribed by me on this 16th DAY OF MAY, 2024.




                                                           Monica Collins
       8350 North Central Expressway                       _________________________
       Suite 1900                                          Monica Y. Collins,
       Dallas, TX 75206                                    Legal Transcriptionist
                                                           JTCBusinessSuite, LLC




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                      VOICEMAIL - JANUARY 14, 2021

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 1   JULIE HENDRICK:                            Hey Bob, this is Julie Hendrick

 2                                              calling.         Um, listen, I went back

 3                                              and looked at the communications

 4                                              that went out and realized, it is

 5                                              not part of um, our policy manual

 6                                              to put out what the agenda is.

 7                                              Um, we are looking to change that

 8                                              at the convention so everything

 9                                              can be out.            But I wanted to let

10                                              you know um, that today, the board

11                                              of directors had a teleconference,

12                                              that's the one that's been put

13                                              out, and one of the resolutions is

14                                              for ah, you to have to pay back

15                                              the calculation, the additional

16                                              calculation, of that MEA and SAF

17                                              ah, for your vacation.             The same

18                                              as um, what was done by um, for

19                                              Nena, Marcy, and Eugenio.

20                                              So um, anyhow, give me a call back

21                                              if you have some questions.              Um,

22                                              it's at 4:00 today.             Um, I'll --

23                                              be happy to ask -- answer any

24                                              questions you have about it or

25                                              I'll -- I'll have Erik talk to



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                                                                                                  3


 1                                              you.      Um, and this is something

 2                                              that -- um the Board requested,

 3                                              and ah, that's why it's on the

 4                                              agenda.         Okay.          So -- that's it.

 5                                              Talk to you later.

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                                                                App. 41
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                                                          Redacted by Plaintiff




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                                       Plaintiff



                                  Redacted by Plaintiff




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